UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
OFFICE OF THE CLERK
Catherine M. Stavlas, Clerk of Court
Elizabeth B. Snowden, Chief Deputy
David E. Ciambruschini, Chief Deputy

 

Reply to Northern Division Address

 

 

 

FILED ENTERED
January 7, 2022 me LODGED RECEIVED
Michael Jones
1B Rt 72 100 Yards North JAN 1 0 2022

from The Space San Juan Del
Sur Nicaragua 25203571

We Av BALTIMORE
Se OR
oY f
Re: Case No. RDB 17-cv-2150
Dear Counsel/Party:
The Clerk received your “Motion for Order of Default” on January 4, 2022: however, it

is deficient in the area(s) checked below and is being returned to you.

Noncompliance with L.R. 101 or 102
[] Member of bar has not signed the document.

Noncompliance with L.R. 102 and FRCivP 5
CL] Certificate of service not affixed to document.

[] Business entities other than sole
proprietorships must be represented by
counsel.

Noncompliance with L.R. 104 or 105
[] Discovery materials should not be filed unless
in support of a motion or by court order.

[] Discovery motion filed contrary to L.R. 104.7.
L] Motion to compel filed contrary to L.R. 104.8.

ce: Other counsel/party
Return pleading letter (Rev. 02/2011)

[] Certificate of service not dated and/or not
signed.

Miscellaneous
[] Document does not contain original signature.

(1 Document relates to more than one file.
Original and appropriate copies are required
for each file unless the cases have been
consolidated for all purposes.

[) Offer of judgment should not be filed with the
Court until it has been accepted. Fed. R. Civ.
P. 68.

& Other: Civil Action Closed on 11/30/2018.

LMP. BIO spre} 102022

Richard D. Bennett
United States District Judge

Date

Northern Division * 4228 U.S. Courthouse + 101 W. Lombard Street + Baltimore, Maryland 21201+ 410-962-2600
Southern Division + 200 U.S. Courthouse * 6500 Cherrywood Lane « Greenbelt, Maryland 20770 * 301-344-0660

Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
